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Sean Coates
#01181-748

F.C.1. Cumberland
P.O. Box 1000
Cumberland, MD 21501
February 20, 2024

Honorable Royce C. Lamberth L ie frs-d
333 Constitution Ave. N.W. Room #1225 Ant 1&6
Washington, D.C. 20001 “fou C. Fant the

base UO ag bus

Re: Case #- CR.98.329-06
Your Honor:

On October 6, 2023 you ordered that my Motion To Correct Clerical Error
(Rule 36) be Granted. In that motion a show cause motion asked... "WHY THE UNITED
STATES SHOULD NOT REIMBURSE GARNISHED CORONAVIRUS AID, RELIEF, AND ECONOMIC SECURITY
(CARES) ACT STIMULUS PAYMENT AND OTHER WRONGFULLY COLLECTED DEBT PAYMENTS FORTHWITH?"

The wrongfully collected fine payment Totaled: $1,525.00 and the wrongfully
garnished Cares Act Payment Totaled: $1,814.56

I request that you order the Financial Litigation Unit of the Assistant United
States Attorney's (AUSA) returned the garnished Stimulus Check, and if possible
order the BOP reimburse the wrongfully collect, fine payments.

Enclosed, is a copy of my Inmate Financial Responsibility Plan and the Notice

From The Financial Litigation Unit.

Respectfully Presented,

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Sean Coates #01181-748

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CERTIFICATE OF SERVICE

IT, Sean Coates, pursuant to 28 USC 1746 declare under. penalty,
of perjury, that a pre-paid copy of the letter/motion was placed

in the institution mail on 2-20-24 addressed to:

FINANCIAL LITIGATION UNIT
US ATTORNEY OF D.C.

555 4TH STREET THIRD FLOOR
WASHINGTON, DC 20530

Respectfully Presented,

C ” x i
At COAT

Sean Coates

(1 of 1)
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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

)
)
v. ) Case No. 1:98-CR-329-RCL-6
)
)

SEAN COATES

THIS MATTER having come before the Court on Defendant Sean Coates’ unopposed
Motion to Correct Clerical Error [ECF No. 1338]; and

THE COURT having reviewed the matter and finding there has been a clerical error in the
judgment [ECF No. 913] and docket entry [ECF No. 842] in this case;

Itis hereby ORDERED, that pursuant to Federal Rule of Criminal Procedure 36 the motion
is GRANTED, and the Clerk of the Court is instructed to correct ECF No. 842 on the PACER
docket by deleting “Imposition of a fine on all other counts is waived” and inserting “The
imposition ofa fine on all counts is waived” and it is further

ORDERED that the judgment [ECF No. 913] be amended to reflect the waiver of the fine

imposed on count 1.

—

“Gage, ¢. Fan 'VO/eg

ROYCE C. LAMBERTH
Senior United States District Judge

